     Case 2:13-cr-00736-JFW Document 135 Filed 06/30/14 Page 1 of 1 Page ID #:2409



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                              CRIMINAL MINUTES -- SENTENCING

Case No.     CR 13-736-JFW                                                   Dated: June 30, 2014

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PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

      Shannon Reilly                       Miranda Algorri                  Judith A. Heinz
     Courtroom Deputy                      Court Reporter                   Deirdre Z. Eliot
                                                                           Asst. U.S. Attorney
                                           Interpreter: None

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U.S.A. vs (Dfts listed below)                Attorneys for Defendants

1)    Sinh Vinh Ngo Nguyen                                     1)   Yasmin Cader, DFPD
      present in custody                                            Ashfaq G. Chowdhury, DFPD
                                                                    present appointed

______________________________________________________________________________

PROCEEDINGS:        SENTENCING

Case called, and counsel make their appearance.

Court imposes sentence on defendant. For the terms and conditions of the sentencing, refer to
Judgment and Probation/Commitment Order.

Statement of Reasons processed.

Judgment entered, filed and distributed.




                                                                              Initials of Deputy Clerk sr
                                                                                           2/00
